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                                   STATEMENT OF FACTS

    1. Your affiant, Walter B. Giardina, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) assigned to the Washington Field Office’s Federal Public Corruption Squad,
where I am responsible for investigating corruption in the Executive, Legislative and Judicial
branches of the U.S. Government. Currently, I am tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

    2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

    3. On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the United States Senate were meeting in
separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

   4. As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, both temporary and permanent barricades were in place around the exterior of the
U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

    5. At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

    6. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
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    7. During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

   8. Based upon my participation in the in the investigation, I submit that there is probable
cause to believe that JAMES VARNELL CUSICK JR was among the individuals who invaded the
U.S. Capitol building during the events summarized above.

    9. On or about January 22, 2021, the FBI received information from an individual
(“Individual 1”) alleging that a individual by the name of JAMES VARNELL CUSICK JR was
inside the Capitol building rotunda on January 6, 2021.

    10. On or about March 26, 2021, the FBI received a tip from another individual (“Individual
2”), by way of an anonymous letter mailed to the FBI, alleging that JAMES VARNELL CUSICK
JR, and others had traveled from Florida to the District of Columbia, participated in the January 6,
2021 riots, and during that time, entered into the U.S. Capitol building and took videos while they
were inside. Included along with the letter were additional documents and photos provided by
Individual 2 corroborating that JAMES VARNELL CUSICK JR was the pastor of a church in
Melbourne, Florida.

    11. In the days following the riot, the FBI also received a telephonic tip alleging that another
individual, David Lesperance, was inside the U.S. Capitol building rotunda on January 6, 2021.
Thereafter, Task Force Officers (“TFOs”) assigned to the FBI Tampa Division’s Joint Terrorism
Task Force conducted a voluntary, non-custodial interview of Lesperance at his residence in Indian
Harbour Beach, Florida. During the interview, Lesperance admitted that his pastor was also
present at President Trump’s speech and then at the U.S. Capitol afterwards. Lesperance also
admitted that “they” entered the U.S. Capitol, but refused to provide law enforcement with the
Pastor’s name. Lesperance stated that Lesperance had a cell phone on his person while at the U.S.
Capitol, and used it to take photographs and video. However, Lesperance admitted that he later
deleted the photos and videos out of fear of negative repercussions.

    12. A public records search revealed that JAMES VARNELL CUSICK JR is the founder and
pastor of a church in Melbourne, Florida. According to Google Maps, the town in which
Lesperance resides (Indian Harbour Beach) is located approximately seven miles from Melbourne.
An open source search of Instagram also uncovered a photo posted on the Instagram page for the
church showing a group of church members, including JAMES VARNELL CUSICK JR and
Lesperance:




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   13. Public records searches revealed that JAMES VARNELL CUSICK JR is associated
with cellular number XXX-XXX-5330. According to records obtained through a search warrant
which was served on AT&T on January 6, 20201, in and around the time of the incident, the cell
phone associated with XXX-XXX-5330 was identified as having utilized a cell site consistent with
providing service to a geographic area that includes the interior of the U.S. Capitol building.

     14. During Lesperance’s voluntary interview with the FBI, he informed law enforcement that
his cell phone number was XXX-XXX-6511. Records subsequently obtained from Verizon
Wireless indicated that the phone number XXX-XXX-6511 is affiliated with an Apple iPhone that
is registered to Lesperance. Law enforcement also received records pursuant to a search warrant
served on Apple Inc. for Lesperance’s iCloud account. A review of the location history provided
by Apple Inc. showed Lesperance’s phone in the U.S. Capitol on the afternoon of January 6, 2021.
Likewise, according to records obtained pursuant to a search warrant served on Verizon Wireless
for historical location data for Lesperance’s phone, on January 6, 2021, in or around the time of
the incident, the cellphone associated with XXX-XXX-6511 was identified as having utilized a
cell site consistent with providing service to a geographic area that includes the interior of the U.S.
Capitol building.

   15. Lesperance’s iCloud account also included, amongst other things, photos of JAMES
VARNELL CUSICK JR before and after the riot, appearing to wear the same clothes as those he
was observed wearing on U.S. Capitol Closed Circuit Television (“CCTV”) and body-worn

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surveillance cameras worn by law enforcement officers at the U.S. Capitol. An example of a photo
from Lesperance’s iCloud account of what appears to be JAMES VARNELL CUSICK JR on
January 5, 2021, is provided below:




    16. Additionally, photos of what appear to be JAMES VARNELL CUSICK JR were
discovered on Lesperance’s iCloud account that geolocate to inside the U.S. Capitol building, an
example of which is provided below:




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        16. Law enforcement reviewed body-worn surveillance footage and CCTV images from
the U.S. Capitol. Both depict JAMES VARNELL CUSICK JR inside the U.S. Capitol on the
afternoon of January 6, 2021. Screenshots from one such time-stamped body-worn surveillance
video, and one such CCTV image, are provided below:




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       17. Based on the foregoing, your affiant submits that there is probable cause to believe
that JAMES VARNELL CUSICK JR violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a

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crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        18. Your affiant submits there is also probable cause to believe that JAMES VARNELL
CUSICK JR violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings. As noted above, JAMES VARNELL CUSICK JR was within “the Grounds of in any
of the Capitol buildings” on January 6, 2021.



                                                      ______________________________________
                                                      WALTER B. GIARDINA, SPECIAL AGENT
                                                      FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with
the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21 day of June, 2021.

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                                                      ___________________________________
                                                      HONORABLE ROBIN M. MERIWEATHER
                                                      UNITED STATES MAGISTRATE JUDGE




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